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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                Case No. 19-cr-20450-RNS
                                                                                         KP

  UNITED STATES,
                                                                                Dec 31, 2021
          Plaintiff,
                                                                                           Miami

  v.

  ALEX NAIN SAAB MORAN,

       Defendant.
  __________________________________/

                       DEFENDANT’S SEALED UNOPPOSED MOTION
                       TO AMEND THE PROTECTIVE ORDER (D.E. 76)

          The Defendant, Alex Nain Saab Moran, unopposed by the government,

  respectfully moves this Honorable Court to amend the Protective Order (D.E. 76) to allow

  defense counsel to transmit outside of the United States to a member of the defense

  team, described as PD in the Protective Order, a limited subset of discovery material

  related to transactions between Ecuadorian and Venezuelan companies allegedly

  involving Mr. Saab, and in support states:

  1. On November 26, 2021, the United States filed the Government’s Unopposed Motion

       for Protective Order Regulating Disclosure of Discovery and Sensitive Information

       Contained Therein (D.E. 75).

  2. On November 29, 2021, this Honorable Court granted the government’s motion and

       entered a Protective Order which, among other things, prohibited defense counsel

       from “show[ing] or disseminat[ing] any of the Sensitive Information to anyone other

       than the named defendant, attorneys of record for the named defendant, U.S.

       attorneys working with the attorneys of record, and staff from that defense counsel’s


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     law office, and U.S.-based paralegals, investigators, expert witnesses and interpreters

     working for that law office” and “any foreign (non-U.S.) attorneys or other foreign

     individuals, other than the foreign attorney known to the parties as PD” (id. at ¶¶ 4, 6).

     The Protective Order also prohibited the defense from transmitting any Sensitive

     Information outside of the United States (id. at ¶ 7).

  3. Defense counsel discussed with counsel for the government who concurs with the

     relief requested and the sealing of this application to obtain this Honorable Court’s

     permission to share with PD a limited subset of discovery material related to

     transactions between Ecuadorian and Venezuelan companies allegedly involving Mr.

     Saab. Sharing these discovery materials with a member of the defense team located

     outside the United States is necessary for defense counsel to investigate and prepare

     the case.

  4. Undersigned counsel will provide a copy of the Protective Order (D.E. 76) along with

     any discovery materials and will instruct members of the defense team located outside

     of the United States to promptly return or destroy those discovery materials once they

     no longer require access to or possession of the discovery materials to help prepare

     the case. Undersigned counsel and PD will not make or permit the creation of any

     copies of any discovery materials outside the United States. All discovery materials

     will be returned to the United States no later than January 7, 2022.

  5. Undersigned counsel conferred with counsel for the government who does not oppose

     the defense’s request.




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                                             Respectfully submitted,

                                       By:      s/ Neil M. Schuster      .
                                             Neil M. Schuster
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                         CERTIFICATE OF NON CM/ECF SERVICE

           I HEREBY CERTIFY that on December 31, 2021, I DID NOT present the foregoing

  to the Clerk of the Court for filing and uploading to the CM/ECF system, but I will hand

  deliver a copy to AUSA Kurt Lunkenheimer. No notice of electronic filing will be sent to

  the corresponding parties. The pleadings are filed with the Sealed Pleading Clerk of

  Court.

                                       By:      s/ Neil M. Schuster    .
                                             Neil M. Schuster




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